











Opinion issued August 17, 2006&nbsp;










&nbsp;
 


In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-06-00702-CR
____________

IN RE LAWRENCE STALER, Relator




Original Proceeding on Petition for Writ of Mandamus



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Lawrence Staler, filed in this Court a petition for writ of mandamus,
complaining that respondent


 did not perform a ministerial duty.  According to the
petition, relator requests that this Court make a finding:
“...that the Respondent did not transmit documents to the
Court of Criminal Appeals within a reasonable time after
the date they were requested...Petitioner prays for an Order
Directing the Respondent to transmit a copy of the
application for brief in support for motion for court
appointed attorney, any answers filed and a certificate 
reciting the date upon which that finding was made to the
Court of Criminal Appeals as directed in Article 11.07...of
the Texas Code of Criminal Procedure and as requested in
petitioner’s letter...”

We deny the petition.&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We have no authority to issue a writ of mandamus against a district clerk unless
such is necessary to enforce our jurisdiction.  In re Coronado, 980 S.W.2d 691, 692
(Tex. App.—San Antonio 1998, orig. proceeding).  This Court has no authority to
issue writs of mandamus in criminal law matters pertaining to habeas corpus
proceedings seeking relief from final felony judgments.  That jurisdiction lies
exclusively with the Texas Court of Criminal Appeals.  See Board of Pardons &amp;
Paroles ex rel. Keene v. Court of Appeals for the Eighth District, 910 S.W.2d 481,
483 (Tex. Crim. App. 1995); In re McAfee, 53 S.W.3d 715, 717-18 (Tex.
App.—Houston [1st Dist.] 2001, orig. proceeding); Tex. Code.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The petition for writ of mandamus is dismissed for lack of jurisdiction.
PER CURIAM

Panel consists of Justices Keyes, Alcala, and Bland.
Do not publish.  Tex. R. App. P. 47.2(b).


